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                                   STATEMENT OF FACTS

        Your affiant, Mark A. Hastbacka, is a Special Agent assigned to the Federal Bureau of
Investigation (FBI), Boston Division, Bedford (New Hampshire) Resident Agency. Currently, I
am tasked with investigating criminal activity in and around the Capitol grounds on January 6,
2021. As a Special Agent, I am authorized by law or by a Government agency to engage in or
supervise the prevention, detection, investigation, or prosecution of a violation of Federal criminal
laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of


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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                  IDENTIFICATION OF KIRSTYN NIEMELA AND
              STEFANIE NICOLE CHIGUER AND THEIR INVOLVEMENT
                       IN THE EVENTS OF JANUARY 6, 2021

        On or around January 7, 2021, the FBI received a text tip that KIRSTYN NIEMELA may
have been involved in the events of January 6, 2021. Specifically, the tipster stated that he/she
was unsure if NIEMELA was “directly part of the riots, but she’s currently there and has posted
numerous live videos on her FB [Facebook] page.” The tipster also indicated that NIEMELA
posted, “grab your popcorn… it’s coming….” Some of the language in the tip appeared to be cut
off and was not available to the FBI. The text tip was anonymous and did not provide
information as to how the tipster knew or was familiar with NIEMELA.

        On June 13, 2021, the FBI received an additional tip from Witness-1 (W-1). W-1
reported that they and NIEMELA were friends months ago, but they distanced themselves from
NIEMELA because of her rhetoric. They indicated they talked to her two weeks earlier and
NIEMELA indicated she was “going to take back the country.” NIEMELA told W-1 she was in
Washington, D.C. on January 6, 2021 and she showed them a video of her breaking a window in
the Capitol building. She also mentioned to them that she was a member of the Proud Boys. W-1
also claimed that NIEMELA stated that “there is something big coming… [that] the whole nation
will watch it happen.” W-1 mentioned that NIEMELA “carries a[n] illegal handgun with her at
all times.” W-1 also listed NIEMELA’s phone number as a telephone number ending in 7169.

        During the course of further investigation, law enforcement has identified Facebook
postings wherein a woman believed to be NIEMELA can be seen in photos outside the U.S.
Capitol on January 6, 2021, wearing an American flag as a cape, sunglasses, and a black
sweatshirt that reads “We the People ARE PISSED OFF.” In both Facebook photos, this woman
can be seen with another woman in an identical sweatshirt. In one posted photograph, the women
are seen with two men:




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                                     Witness #1
        W-1 was interviewed by agents with the FBI on November 4, 2021, and acknowledged
they had a falling out with NIEMELA because of a personal matter, and that they had distanced
themselves from NIEMELA because they were a felon and didn’t want trouble. W-1 stated they
had known NIEMELA for approximately five years and had lived with her and her mother two
years ago for approximately four months. W-1 stated NIEMELA told them that she and her
girlfriend had participated in the U.S. Capitol riot of January 6, 2021, and showed them a video
on her cell phone claiming it to be from the riots. W-1 also stated they could only make out feet
and legs in the video NIEMELA showed them. W-1 advised that the girlfriend NIEMELA was
referencing in the conversation was “Stefanie”, who lived in Dracut, MA, and whom W-1 had
met a couple of times. W-1 was shown a series of 14 still photographs taken from within the
United States Capitol and identified NIEMELA (on the right in both photos) and “Stefanie” (next
to NIEMELA without a hat) in the two Facebook photographs posted by others:




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        Through open-source research, the FBI identified the man wearing the red cap, neon
gloves, and body armor as MICHAEL ECKERMAN of Wichita, KS. ECKERMAN has since
been indicted in the District of Columbia for his part in the riots occurring on January 6, 2021
(Case No. 21-CR-623[CRC]).
       W-1 positively identified both NIEMELA and “Stefanie” (in the blue square in the first
photo below and circled in red in the second and third photos below) in screengrabs from footage
from inside the United States Capitol:




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       After W-1 provided the name of “Stefanie” and information that they believed she was
from Dracut, MA, law enforcement was able to identify a STEFANIE NICOLE CHIGUER.
Specifically, I found a police incident report that showed that on or about September 4, 2021, the
Dracut, MA Police Department responded to the residence of STEFANIE NICOLE CHIGUER ,
in Dracut, MA for a domestic dispute between CHIGUER and NIEMELA. I obtained a State of
Massachusetts driver’s license photo for CHIGUER and CHIGUER appears to be the same
person as the female with NIEMELA in the images from January 6.
                                     Witness #2
       An additional tip was provided to law enforcement by Witness-2 (W-2). W-2 reported
seeing posts and pictures on Facebook posted by NIEMELA. W-2 stated they were a relative of
NIEMELA, and stated NIEMELA posted several pictures of herself in the crowd of people with
the Capitol building and other landmarks in the background. NIEMELA referred to a line she
and many others stood in to make it in. W-2 said that since returning home, NIEMELA was
almost always in a Facebook chatroom.
        W-2 was interviewed by agents of the FBI, on or about November 5, 2021. W-2 stated
they saw NIEMELA’s posting on Facebook before NIEMELA’s accounts were taken down. W-2
stated NIEMELA was posting on Facebook the day of the United States Capitol riot on January
6, 2021, under her real name, from the United States Capitol. W-2 did not see any posting made
from inside the United States Capitol, but did provide a CNN video they found on the internet
which captured NIEMELA walking around inside the United States Capitol Rotunda on the
afternoon of January 6, 2021. W-2 was shown a series of 14 still photographs taken from within
the United States Capitol. W-2 positively identified NIEMELA in several photographs including
the two photographs posted on Facebook seen on page 4 of this affidavit.




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       From the still photographs taken from the security cameras within the United States
Capitol, W-2 positively identified NIEMELA in six photographs inside the United States
Capitol, two of which are depicted below, as well as one taken from open source media.
       Specifically, W-2 positively identified NIEMELA (as the individual on the right of the
blue square wearing sunglasses):




       W-2 also positively identified NIEMELA in the photograph below (female with
sunglasses on the right of the image).




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        In addition, W-2 provided the FBI with video footage from CNN that captured
NIEMELA (the screen grab below includes NIEMELA, CHIGUER, and Eckerman from left to
right) walking inside the Rotunda of the United States Capitol on January 6, 2021:




        A telephone number ending in 7169 has been linked to NIEMELA through tip reporting,
as well as through various law enforcement databases and open source searches. According to
records obtained through a search warrant which was served on Verizon, on January 6, 2021, in
and around the time of the incidents described herein, the cellphone associated with this
telephone number was identified as having utilized a cell site consistent with providing service to
a geographic area that included the interior of the United States Capitol building.
        During the course of the investigation, law enforcement identified a Verizon phone
number ending in 1187 that is believed to be used by CHIGUER. According to records obtained
through a search warrant which was served on Verizon, on January 6, 2021, in and around the
time of the incident, the cellphone ending in 1187 was identified as having utilized a cell site
consistent with providing service to a geographic area that included the interior of the United
States Capitol building.
        Michael Eckerman’s telephone was seized on September 17, 2021 by the FBI pursuant to
a search warrant issued by a federal judge in the District of Kansas. Upon searching the
telephone for pertinent evidence within the scope of the search warrant, a text chain was found
which included the telephone number ending in 7169, identified by W-1 as belonging to
NIEMELA. NIEMELA texted that the photographs being used by another group member were
from her (NIEMELA’s) Facebook page. A telephone number ending in 1187 was also included
in the chain, and photographs from January 6th were sent to the group from that number which is
believed used by CHIGUER.



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        According to records obtained through a search warrant which was served on Google,
mobile device(s) associated with variations of NIEMELA’s name were present at the U.S.
Capitol on January 6, 2021. Google reports that its “maps display radius” reflects the actual
location of the covered device approximately 68% of the time.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
KIRSTYN NIEMELA and STEFANIE CHIGUER violated 18 U.S.C. § 1752(a)(1) and (2),
which makes it a crime to (1) knowingly enter or remain in any restricted building or grounds
without lawful authority to do; and (2) knowingly, and with intent to impede or disrupt the
orderly conduct of Government business or official functions, engage in disorderly or disruptive
conduct in, or within such proximity to, any restricted building or grounds when, or so that, such
conduct, in fact, impedes or disrupts the orderly conduct of Government business or official
functions; or attempts or conspires to do so. For purposes of Section 1752 of Title 18, a
“restricted building” includes a posted, cordoned off, or otherwise restricted area of a building or
grounds where the President or other person protected by the Secret Service, including the Vice
President, is or will be temporarily visiting; or any building or grounds so restricted in
conjunction with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that KIRSTYN NIEMELA
and STEFANIE CHIGUER violated 40 U.S.C.§ 5104(e)(2)(D) and (G), which makes it a crime
to willfully and knowingly (D) utter loud, threatening, or abusive language, or engage in
disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings
with the intent to impede, disrupt, or disturb the orderly conduct of a session of Congress or
either House of Congress, or the orderly conduct in that building of a hearing before, or any
deliberations of, a committee of Congress or either House of Congress and (G) parade,
demonstrate, or picket in any of the Capitol Buildings.



                                                      _________________________________
                                                      Mark A. Hastbacka
                                                      Special Agent
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 14th day of January 2022.
                                                      G. Michael Michael Harvey
                                                                            Digitally signed by G.


                                                      Harvey             Date: 2022.01.14 12:45:04
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                                                      ___________________________________
                                                      HONORABLE G. MICHAEL HARVEY
                                                      UNITED STATES MAGISTRATE JUDGE




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